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            U NITED STATES FEDERAL C OURT W ESTERN D ISTRICT OF V IRG '      'F

                 CASE:SINESV KESSLER ICASE#C- ;I7 ckzoôo-7
                                  .




                  PLAINTIFFS:SINESETALIDEFENDANTS:KESSLER ETAL

                        D EFENDANT CANTWELL'SLETTER OF STATUS


   Tp theHoporableJudge M oon,andHonorableJudge Hoppe,

   I write to you today from the ''law library''of the Strafford County Correctional Facili? in
   Dover,New Hampshire.This ''law library''consists oflittle more than a word processor.So,I
   hope you willpardon the formatting ofthisletter,and m y com plete lack ofcapacity to respond
   .                                                                    ,


   Fith meaningfulspecifcity to anythingwhich hastranspired since1submitted my objection to
   Plaintiffs'motion forevidentiarysanctionsagainstDefendantKline,on Janumy 21st.
   1 nm çurrently housed in adm inistrative segregation form y own safel ,because classifcation
                          ,

   poted thatmy W ikipediapagebeginsby telling thepublicthatInm a ''federalinfonnanf'.Thisis
   nbtkbdducive tb-building pojitive kelationsllips in a correctional facilit
                                                                            -y7 so 1'
                                                                                    ih-
                                                                                      il
                                                                                       if-be k-
                                                                                              epf
   Feparate from 0ther inm qtes.N otthatI nm nnxious to m ake friends here,but itsubstantially
                    ,     .


   complicatesmy acçessto resotlrceswithin thisfacility.
   ''Infonnant''isnotthe çorrectword to describe me,since Inm buta crim e victim who reported
   hisrepeatedvktimi
                  J zatipnsto law enforcement.Seemingly,tono avail.But1did cooperatewith
   $he FBIinvestigation into the eventshere in dispute,and 1have regularly commtmicated with
        ,

   localand federall&w enforcementsince my return hom e from Virginia,because Inm consyantly
   lhreatened and, harassed on qccount of the lies pedaled about m e by Plaintiffs and their
                              .


   associates.

   Despite this frequent communication, FBI agents saw fit to break my door down at
   approximately 3:00am on Thursday,January 23rd. They seized m y electronic devices, and
   w eapons,and charged m e w ith violations ofTitle 18 U SCS 875 b,and c.These charges have no
   ostensible cormeçtion to the evepts here in dispute,no m atter what frivolous dot conneding
   exercisesPlaintiffsm ay try to fraudulently engage in.
             .




   At a subsequent initialcourtappearance in Concord,NH,prosecutors exercised an option to
   postponemy bailhearingfor3 days,and armounced theirintentto seek remand.On theadviceof
   my public defend.er,we stipulated toremand,withoutprejudice,in orderto awaitdiscovery.At
   the tim eofthiswriting,Ihave no idea when Iwillbe released.
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      Form eto continue participating in thissuit,1'11needto be served with a11papersclearly marked
      astllegalm ail''atthecorrectionalfacility,until1am released.Theaddresshereis;

      ChristopherCantwellBooking$20-00348
      Strafford CountyD ept.ofCorrections
      226 CountyFarm Road
      Dover,NH 03820
      1 have not seen anything subm itted to the docket since January 21St, and further,I have no
      reference paterialto prior filings.Forme to meaningfully participate,lwillrequire copies of
      Plaintiffs'Secoqd.Amended Complaint,aswellas my response to it,and my Objection to
      Plaintiffs'M otion forEvidentiary SanctionsagainstDefendantKline.
                                                .




      Ialsohavehundredsifnotthousandsofarchived and screenshotted socialm edia posts,and other
                            .


      am a
      i   ges,dcgensofvideoj,and gigabytes ofother evidence stored on my
                                .                                      . computers.Thesehaye
      since beeg seized by $hç Federal Bureau of Investigation, and 1 have no idea how 1 can
                                .                                                               ,


      partiçipatein thisprocçsswithoutaceessto thatm aterial.
      Perhapsthatisthepoinf. Tim ewilltell...
      .                                 .



      Or,perhaps,we can a11save ourselvesabitoftrouble.
 --
      l-showed this.C-ourtin-my 0bjection to Plaintiffs'M otion forEvidentiary Sanctions against'''
      DefendantK linç,thatyhis lawsuit has no merit.I conclusively proved beyoqd any wasonable
                    .


      doubt,thatthePlaintiffjhave willfully and maliciously deceived thisCourtfrom the outset,and
                                    .           .


      fhatevenasthejrl
                     .ieswzm exposed,thePl#ntiffscontinueddeceivingthisCourtandthepublic.
      Jthus reiterate my request that I be dismissed from this frivolous law suit.I discourage the
      Plaintiffsfrom obiectinz'to thisrenuest.becauseIwillnotwalk awav quietlv ifcom pelled to see
      sllisthroughtofhçend.Iftheywantto avoidpayingme,theyshoulddroptheirclaimstoday.
      1didnothîngtoapy ofthesepeople.Theyhavenotevenallegedthat1havedoneanyth
      , .                                                                             ,ingtoany
      pfthem .They only allegçthatIconspiredto createtheconditionsthatinterrupttheirenjoyment
                .


      oflife,buteven this i; definitively disproven by my body cnmera videos,and otherm aterialsI
                                .

      ha
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        vefreelv aiven up
               < '.''e'
               '        *.
                        .
                           in di
                              '
                                scovery.
                                '
                                . .                 .



       So long ms this C, oul't perm its the Plaintiffs to abuse process,the process will be abused to
      tormentme,becausetlwtisal1they haveeverintended to do.They have no intention ofwinning
      thissuit.They only intendto spy,slander,andtorm enttheircriticsand politicalopponents.
      Asone ofthem ore brqzen examples ofthis,Ihave heard from m edia reportsm layed to me by
      friendsovqrthephone,thatPlaintiffshave asked thecourtto reconsidertheirm eritlessm otion So
                                ,           .


      enjoin me.Having notseen tlzerequest,1cnnnotrespondpointbypoint,sofornow 1ask thatI
      beserved with any such filing beforetheCourtconsidersit.
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  Ofcom se,none ofthatshould benecessary.Them otion wasobviously frivolousfrom the start,
  and evincesthePlaintiffs'fondnessforabusing processand deceiving the Court.No reasonable
  person would intem retûlhave fun''asa ûitruethreat''and itwasforthatreason thatthem eritless
  motiontoenjoinwasignored.
  ThePlainsiffswould npw have thisCourtactupon the assumption thattmproven allegations,by
  Im nam ed persons, l
   . ,     .         mder wholly different circllm stances, somehow m ake their obvious
  deceptionsmore çrediblç.They hope to seethe entge Americanjudicialsystem destroyed,by
  allowingthenllmberand voblm eofaccusationstotaketheplaceofreason,and evidence.
               .         .       .




  In reality,their çredibility has only decreased, as their prior lies have been so thoroughly
       .                     .


  çxposed.

  ImovetheCourtjodismissmefrom thissuit.
                 ,o s
  1movethç Cot!rjt
   ,                 anction Plaintiffsfortheirm eritlessfilings.
  F. ailing thik,

  1lpovethçCous yo see m eproperly served with al1requisitem aterials,atPlaintiffs'çxpense,so
  lhqt1mayçontinuemyprosedefensefrom thiscorrectionalfacility.


  Respectfully Submitted,
                    .

  ChristophçyCan> qll
   Fqbmary1?,2919   .,



       ()                             , r 4/.
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